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                    United States Court of Appeals for the Second Circuit
                            Thurgood Marshall U.S. Courthouse
                                      40 Foley Square
                                    New York, NY 10007

ROBERT A. KATZMANN                                            CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                   CLERK OF COURT

Date: August 05, 2019                                         DC Docket #: 1:19-cr-490-1
Docket #: 19-2221                                             DC Court: SDNY (NEW YORK
Short Title: United States of America v. Epstein              CITY)
                                                              DC Judge: Berman



                             NOTICE OF DEFECTIVE FILING



On August 5, 2019 the notice of additional counsel, on behalf of the appellant, was submitted in
the above referenced case. The document does not comply with the FRAP or the Court's Local
Rules for the following reason(s):

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______ Failure to file the Record on Appeal (FRAP 10, FRAP 11)
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______ Missing supporting papers for motion (e.g, affidavit/affirmation/declaration) (FRAP 27)
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Inquiries regarding this case may be directed to 212-857-8528.
